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1     TRACY L. WILKISON
      Acting United States Attorney
2     SCOTT M. GARRINGER
      Assistant United States Attorney
3     Chief, Criminal Division
      JONATHAN GALATZAN
4     Assistant United States Attorney
      Chief, Asset Forfeiture Section
5     VICTOR A. RODGERS (Cal. Bar No. 101281)
      MAXWELL COLL (Cal. Bar No. 312651)
6     Assistant United States Attorney
      Asset Forfeiture/General Crimes Sections
7          Federal Courthouse, 14th Floor
           312 North Spring Street
8          Los Angeles, California 90012
           Telephone: (213) 894-2569/1785
9          Facsimile: (213) 894-0142/0141
           E-mail: Victor.Rodgers@usdoj.gov
10                 Maxwell.Coll@usdoj.gov
11    Attorneys for Plaintiff
      UNITED STATES OF AMERICA
12
                               UNITED STATES DISTRICT COURT
13
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                     WESTERN DIVISION
15
      UNITED STATES OF AMERICA,                Case No. 2:21-CV-007279-MWF(SKx)
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                 Plaintiff,
17                                             RESPONSE TO ORDER TO SHOW CAUSE
                       v.                      RE: FILING NOTICE OF RELATED CASES
18
      $1,083,740.00 IN U.S. CURRENCY
19    AND MISCELLANEOUS PRECIOUS
      ITEMS,
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                 Defendants.
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            Plaintiff United States of America respectfully submits this
24
      response to the Court’s Order to Show Cause Re: Filing of Notice of
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      Related Cases.    The government respectfully submits that this case is
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      not related to United States of America v. U.S. Private Vaults, Inc.,
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      Case No. 21-CR-106 MCS (the “criminal case”).         General Order 21-01
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1     and Local Rule 83-1.3.2 provide that it is the responsibility of the

2     parties to file a notice of related case whenever a civil forfeiture

3     case and a criminal case (a) arise from the same or a closely related

4     transaction, happening, or event; (b) call for determination of the

5     same or substantially related or similar questions of law and fact;

6     or (c) involve one or more defendants from the criminal case in

7     common, and would entail substantial duplication of labor if heard by

8     different judges.     In addition, the Local Rule provides that “the

9     Notice must include a brief factual statement that explains how the
10    cases in question are related under the foregoing factors.”
11          The government respectfully submits that the criminal case and

12    the instant in rem civil forfeiture case are not related for the

13    following reasons.     The criminal case is against the corporation U.S.

14    Private Vaults, Inc. only.      There are no other individuals or

15    entities named as defendants in the criminal case.          As reflected in

16    the in rem forfeiture complaint in the instant case, the defendants

17    are $1,083,740.00 and miscellaneous precious items seized from boxes

18    4106 (miscellaneous precious items) and 4704 (currency) at U.S.

19    Private Vaults held by Brian Sutton and Samantha Safir.           See

20    forfeiture complaint ¶ 5.      Neither of those individuals, Brian Sutton

21    and Samantha Safir, are defendants in the criminal case, nor does the

22    government seek to forfeit the civil forfeiture defendants

23    $1,083,740.00 and miscellaneous precious items in the criminal case.

24    See ¶ 3 of Forfeiture Allegations One, Two and Three in the

25    indictment in the criminal case.       In addition, the in rem forfeiture

26    complaint in the instant action names Brian Sutton and Samantha Safir

27    (and not U.S. Private Vaults, Inc.) as interested parties (see

28    forfeiture complaint ¶ 7), meaning that Brian Sutton and Samantha

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1     Safir are the only persons or entities who might file claims

2     contesting the forfeiture of the defendant assets and thereby become

3     parties in the instant in rem civil forfeiture action.

4           The criminal case charges the corporation U.S. Private Vaults,

5     Inc. with violations of 18 § 1956(h) (conspiracy to launder money,

6     for drug trafficking and structuring proceeds), 21 U.S.C. § 846

7     (conspiracy to distribute controlled substances) and 18 U.S.C. 371

8     (conspiracy to structure transactions) while the instant civil

9     forfeiture case seeks to forfeit the defendant assets because they
10    involve traceable proceeds of violations of 18 U.S.C. §§ 220 (illegal
11    remunerations for referrals), 1343 (wire fraud) and/or 1347 (health
12    care fraud).    See complaint, first, second and third claims for
13    relief.   Accordingly, the criminal case and the instant forfeiture

14    case involve different parties, different facts, different assets and

15    different laws.     Therefore, the government respectfully submits that

16    the cases are not related within the meaning of General Order 21-01,

17    II.1.1c. and Local Rule 83-1.3.2.

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1           However, the instant forfeiture case might possibly be related

2     to another civil forfeiture case that has been filed.          It is not

3     clear, however, that those two cases are related.          Nevertheless, the

4     government will file by September 17, 2021, a notice of related cases

5     that pertain to this and the other civil forfeiture case.

6     Dated: September 14, 2021          Respectfully submitted,

7                                        TRACY L. WILKISON
                                         Acting United States Attorney
8                                        SCOTT M. GARRANGER
                                         Assistant United states Attorney
9                                        Chief, Criminal Division
10
                                         _______/s/___________________
11                                       VICTOR A. RODGERS
                                         MAXWELL COLL
12                                       Assistant United States Attorneys
                                         Asset Forfeiture/General Crimes
13                                       Sections

14                                       Attorneys for Plaintiff
                                         UNITED STATES OF AMERICA
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